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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION AT FRANKFORT

CRIMINAL ACTION NO. 08-21-S-DCR

UNITED STATES OF AMERICA                                                                  PLAINTIFF


V.                                 MAGISTRATE JUDGE’S
                               REPORT AND RECOMMENDATION



LEONARD V. LAWSON,
CHARLES WILLIAM NIGHBERT, and
BRIAN RUSSELL BILLINGS                                                                DEFENDANTS

                                          ** ** ** ** ** ** **

                                        I. INTRODUCTION

       On February 11, 2009, a federal grand jury returned an eight-count superceding indictment

against co-defendants Leonard V. Lawson (“Lawson”), Charles William Nighbert (“Nighbert”), and

Brian Russell Billings (“Billings”), charging them with various offenses concerning the Kentucky

Transportation Cabinet’s awarding of state contracts to private entities for the construction or repair

of state roads and highways in the Commonwealth of Kentucky.

       Count 1 thereof charges that from June 2006 until March 2008, defendants Nighbert and

Lawson conspired together with James Rummage, and with others, known and unknown, to violate

laws of the United States, that is, 18 U.S.C. §§ 666(a)(l)(A) and (B) and (2), by (a) in a twelve month

period, stealing, obtaining by fraud, and converting to the use of a person other than the rightful

owner, property within the care, custody, and control of the Kentucky Transportation Cabinet

(“KTC”), valued at more than $5,000, that is, the funds for payment on various road contracts, and

the engineer’s estimates for those contracts; and (b) corruptly giving to, and receiving by,

employees of the KTC, money, with the intent to influence and reward the employees in connection

with business transactions of the KTC, all in violation of 18 U.S.C. § 371.
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       Count 2 thereof charges that in the period of twelve consecutive months between July 1,

2006 and July 1, 2007, at Franklin County and Fayette County, defendant Nighbert, aided and

abetted by James Rummage and others, known and unknown, being an employee and agent of

a state government agency that received more than $10,000 of federal funds in a twelve-month

period did steal, obtain by fraud, and without authority, convert to the use of a person other than

the rightful owner, property in the care, custody, and control of that agency, that is, the funds to pay

road contracts and the engineer’s estimates for those contracts, in an amount in excess of $5,000,

in that he caused to be provided to a bidder on road contracts confidential information that could

compromise the bidding process and artificially increase the amount of the contract, all in violation

of 18 U.S.C. § 666(a)(l)(A) and 18 U.S.C. § 2.

       Count 3 thereof charges that between June 2006 and August 2007, in Fayette County in the

Eastern District of Kentucky, defendant Lawson did corruptly give to James Rummage, an agent

of State government, $20,000 with the intent to influence and reward James Rummage in

connection with business, transactions, and a series of transactions of the KTC, involving road

contracts and engineers’ estimates of value in excess of $5,000, in that he gave money to James

Rummage in connection with the acts of providing confidential KTC engineer estimates for road

contracts to Lawson, all in violation of 18 U.S.C. § 666(a)(2).

       Count 4 thereof charges that between January and April, 2008 in Fayette County, in the

Eastern District of Kentucky, Lawson did corruptly give to Nighbert, an agent of State government,

$67,251 with the intent to reward Nighbert in connection with business, transactions, and a series

of transactions of the KTC, involving road contracts and engineers’ estimates of value in excess

of $5,000, in that he gave money to Nighbert in consideration of the acts of providing confidential

KTC engineer estimates on road contracts to Lawson, all in violation of 18 U.S.C. § 666(a)(2).

       Count 5 charges that sometime between June 2006 and August 2007 in Franklin County,

Fayette County, and other places in the Eastern District of Kentucky, defendant Nighbert, being an


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agent of state government, did corruptly agree to accept, and did accept between January and

April, 2008, money from Lawson, with the intent to be rewarded in connection with business,

transactions, and a series of transactions of the KTC, involving road contracts and engineers’

estimates of value in excess of $5,000, in that he accepted money in consideration of the acts of

providing confidential KTC engineer estimates on road contracts to Lawson, all in violation of 18

U.S.C. § 666(a)(l)(B).

       Count 6 charges that from on or about a date in January 2008, until a date in April 2008, at

Franklin County, Fayette County, Rowan County and other places in the Eastern District of

Kentucky, defendants Lawson, Billings, and Nighbert conspired with each other and others, known

and unknown, to violate laws of the United States, that is: to attempt to corruptly persuade James

Rummage with the intent to prevent the communication of information to a law enforcement officer

of the United States relating to the commission of a Federal offense, under 18 U.S.C. § 1512(b)(3),

and to corruptly endeavor to influence, obstruct and impede the due administration of justice, under

18 U.S.C. § 1503, as detailed in the various overt acts contained in the indictment, all in violation

of 18 U.S.C. § 371.

       Count 7 charges that from on or about a date in January 2008, until on or about a date in

April 2008, at Franklin County, Fayette County, Rowan County and other places in the Eastern

District of Kentucky, defendants Lawson, Billings, and Nighbert, aided and abetted by one another,

did knowingly and corruptly endeavor to influence, obstruct and impede the due administration of

justice, by attempting to influence the testimony of James Rummage before a federal grand jury and

by attempting to persuade him not to cooperate with federal law enforcement or to implicate others

in a crime, as more specifically set forth in the overt acts in Count 6, above, all in violation of 18

U.S.C. §§ 1503 and 2.

       Count 8 charges that from on or about a date in January 2008, until on or about a date in

April 2008, at Franklin County, Fayette County, Rowan County, and other places in the Eastern


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District of Kentucky, Lawson, Billings, and Nighbert, aided and abetted by one another, did

knowingly attempt to corruptly persuade James Rummage with the intent to prevent the

communication of information to a law enforcement officer of the United States relating to the

commission or possible commission of a Federal offense, as more specifically set out in the overt

acts in Count 6, above, all in violation18 U.S.C. §§ 1512(b)(3) and 2.

        Defendants pled not guilty to the foregoing charges, and this matter is presently scheduled

for a jury trial on June 23, 2009, in Covington, Kentucky.

        This matter is before the court on “Defendant Lawson’s Sixth Motion In Limine To Admit

Rummage “Coaching Session” Recordings” [DE #212].1 This motion has been fully briefed and is

ripe for review.2

   II. DEFENDANTS’ SIXTH MOTION IN LIMINE CONCERNING “COACHING SESSIONS”

        Defendants Lawson and Nighbert seek to admit recordings of two “coaching sessions”

between government agents and witness James Rummage and to permit Lawson to solicit

testimony from Rummage concerning these recorded “coaching sessions” and others that may

have occurred. The two recordings at issue in this motion occurred on March 12, 2008, and March

25, 2008.

        The first recording on March 12 was of a coaching session with federal prosecutors, the FBI,

state criminal investigators, Rummage, and Rummage’s counsel, Marc Murphy, and it occurred

immediately prior to a phone call between Rummage and attorney John Woodall and in between

phone calls that same day between Rummage and Lawson that Lawson asserts the government

will seek to admit at trial. Defendants contend that the government’s theory of the case is that


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       On January 27, 2009, defendant Nighbert filed a response to and joined in this motion.
[DE #230].
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         Due to his present caseload and trial calendar, the presiding district judge has
requested the Magistrate Judge to make a recommended disposition of pretrial, nondispositive
motions.

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Lawson intended to pay John Woodall, who was an outside attorney for several of Lawson’s

companies, to choose an attorney for Rummage who would encourage Rummage to take the Fifth

Amendment when Rummage testified before the Grand Jury.

       The second recording on March 25 is a coaching session where Rummage is being

coached by FBI Agent Clay Mason and state investigator John Sparks. This “coaching session”

occurred immediately prior to Rummage’s last phone call with Lawson. Defendants submit that the

government intends to portray that phone call (Rummage’s last phone call with Lawson) as the

most damaging of Rummage’s conversations with Lawson.

                                           Discussion

       Summarizing the defendants’ argument made in support of the admission of the March 12

and March 25 taped “coaching sessions” at issue, defendants assert that (1) these two recordings

are relevant and admissible under the Federal Rules of Evidence, (2) that exclusion of these

“coaching session” recordings would violate Lawson’s Sixth Amendment right of confrontation, and

(3) this evidence is admissible to negate mens rea.

       In responding to this motion, the United States acknowledges that Rummage was coached,

and the United States notes that this “coaching” of Rummage “will be readily and unashamadely

admitted by any witnesses asked at trial.” Response to Motion to Admit “Coaching” Session, p. 2

[DE #238]. However, the United States objects to this motion, contending that the contents of the

tape recordings in question are wholly irrelevant and add nothing to the evidence on uncontested

issues. The United States further states the fact of the fictional nature of the script that Rummage

followed in the phone calls to Lawson is not in dispute, and the United States advises that the

government will readily have witnesses delineate what is or is not part of the script.         The

government further acknowledges that to the extent that something on these recordings can

contradict anything claimed to be either true or scripted, the “coaching session” recordings could

be used to impeach or clarify. Nevertheless, the government objects to the wholesale admission


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of these two “coaching session” recordings, arguing that these coaching sessions were simply

legitimate law enforcement techniques that can be controversial and misunderstood by the public

and that the interjection of those techniques into a trial results in confusion and diversion of the jury

from the true issue of a defendant’s guilt or innocence.

                                               Analysis

A.      Relevance

        The Federal Rules of Evidence provide that “all relevant evidence is admissible.” See Fed.

R. Evid. 402. Evidence is relevant if it has “any tendency to make the existence of any fact that is

of consequence to the determination of the action more or less probable than it would be without

the evidence.” Id. Thus, the court must first determine whether the “coaching session” recordings

at issue are relevant. If so, ordinarily they would be admissible absent certain other considerations.

        The indictment in this case charges, inter alia, that Lawson committed criminal acts by

counseling Rummage that Rummage’s attorney was incompetent and unstable and urging

Rummage to follow the advice of Lawson’s attorney of choice for Rummage, which advice allegedly

would be to assert his Fifth Amendment privilege when Rummage appeared before a federal Grand

Jury investigating this matter. However, it appears from the coaching sessions that it was

Rummage, not Lawson, who may have initially introduced the idea of Lawson paying for

Rummage’s attorney, not because Lawson was trying to persuade Rummage to consult with a

certain attorney, but because the government had coached Rummage to tell Lawson that he

(Rummage) did not have the financial resources to employ his own attorney. Thus, the “coaching

session” tapes arguably are relevant to Lawson’s mens rea.

        Additionally, the fact that much of what Rummage was instructed to say to Lawson during

his phone calls to Lawson is a fabricated script is relevant and material to the jury’s consideration

of the obstruction charges. Although the government acknowledges that Rummage’s statements

to Lawson are false, the government argues that these false statements are not being offered to


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prove the truth of the matter asserted, but merely to provide “context” to Lawson’s statements. The

government notes: “. . . these pretextual statements can never be considered assertions of fact

admitted for their truth. In the typical case, the jury becomes very aware of what is ‘the script’ and

what are true facts.” See DE #172 at p. 3. However, in this case, the only way the jury will ever

know for certain that Rummage was lying to Lawson is through the introduction of these coaching

sessions tapes. The Magistrate Judge concludes that the “coaching session” recordings are

objective, compelling evidence from which a jury should be able to make a determination on its own

of what was truthful and what was untruthful without having to rely on the government’s assertions

and Rummage’s testimony as to what portions were true statements and what portions were false

statements.

       In short, the Magistrate Judge concludes that the “coaching session” recordings are relevant

because they assist in putting Rummage’s telephone calls to Lawson in context.3

B.     Sixth Amendment right of confrontation

       Lawson asserts that the subject “coaching session” tapes go to the heart of Rummage’s

credibility and that he intends to use these recordings to impeach Rummage’s testimony. Lawson

submits that these recordings (1) suggest that Rummage received an immunity deal from the

government in exchange for his cooperation, (2) demonstrate Rummage’s willingness to lie for his

own benefit, (3) offer an explanation for why Rummage would lie about Lawson’s involvement in

the bribery allegations, (4) show the government’s total control over Rummage’s actions and

statements on the recordings, (5) cast doubt on the core bribery allegations, and (6) suggest that




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         Additionally, the Magistrate Judge notes that all of the witnesses on these
recordings, Rummage, Mason, Sparks, and perhaps Taylor, will be available to testify at
trial. Fed. R. Evid. 613 provides that any witness may be examined on his or her prior
statements, including recorded statements. Thus, they may be asked at trial about any
of the statements made during the coaching sessions.

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Rummage created this fictional story with the government’s assistance to place Lawson in the

proverbial Catch-22 situation.

       Lawson insists that to exclude the “coaching session” recordings or to restrict his use of

them in any way at trial to prevent him from using them fully in his cross-examination of Rummage

would violate his Sixth Amendment right of confrontation.

       In response, the government states that the immunity discussed on these tapes is simply

part of the script and contends that no reasonable person could conclude otherwise. The United

States also notes that coaching an informant on how to employ an elaborate fictional script during

a sting operation is not improper. United States v. Quinn, 543 F.2d 640 (8th Cir. 1976). The United

States does not directly address Lawson’s argument that his Sixth Amendment right of

confrontation would be violated if he were unable to use the “coaching session” tapes fully in his

cross-examination of Rummage.

       Under the Sixth Amendment, the defendants have every right to confront and challenge the

government’s evidence used against them. That right includes the ability to impeach an informant’s

testimony and to challenge the informant’s credibility. The Magistrate Judge concludes that these

“coaching session” tapes may have a tendency to impeach Rummage’s testimony and to impact

on his credibility. For this reason, the Magistrate Judge further concludes that the “coaching

session” are admissible and that Lawson has the right to use them as he sees fit in cross-examining

Rummage.

                                       III. CONCLUSION

       In summary, for all of the foregoing reasons, the Magistrate Judge concludes that the two

“coaching session” recordings on March 12, 2008, and March 25, 2008, are relevant and that the

Sixth Amendment affords the defendants the right to use them fully in their cross-examination of

Rummage.




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       Accordingly, IT IS HEREBY RECOMMENDED that the motion of defendant Lawson and

Nighbert to admit recordings of two “coaching sessions” occurring on March 12, 2008, and March

25, 2008, between government agents and witness James Rummage and to permit Lawson to

solicit testimony from Rummage concerning these recorded “coaching sessions” and others that

may have occurred [DE #212] be GRANTED.

       The Clerk of the Court shall forward a copy of the Magistrate Judge’s Report and

Recommendation to the respective parties who shall, within ten (10) days of receipt thereof, serve

and file timely written objections to the Magistrate Judge’s Proposed Findings of Fact and

Recommendation with the District Court or else waive the right to raise objections in the Court of

Appeals. 28 U.S.C. § 636(b)(1)(B); Thomas v. Arn, 728 F.2d 813 (6th Cir. 1984), aff’d, 474 U.S.

140 (1985); Wright v. Holbrook, 794 F.2d 1152, 1154-55 (6th Cir. 1986); Fed.R.Civ.P. 6(e). A party

may file a response to another party’s objections within ten (10) days after being served with a copy

thereof. Fed.R.Civ.P. 72(b).

       This 11th day of May, 2009.




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